  Case 4:21-cr-06004-SMJ            ECF No. 96       filed 11/04/21      PageID.303 Page 1 of 1

      United States District Court, Eastern District of Washington
                              Magistrate Judge Mary K. Dimke
                                          Richland

 USA v. ARTURO TEJEDA-GOMEZ                            Case No. 4:21-CR-06004-SMJ-1

                                  Richland Video Conference
                       The Defendant agreed to appear via video conference.

 Defendant’s Motion to Reopen Detention Hearing                                            11/04/2021
 (ECF No. 87):

 ☒    Sara Gore, Courtroom Deputy [R]                ☒ Benjamin Seal, US Atty (video)
                                                     ☒ Kenneth Therrien, Defense Atty (video)
 ☒ Erica Helms, US Probation / Pretrial              ☒ Interpreter NOT REQUIRED
   Services (tele)
 ☒ Defendant present ☒ in custody USM                ☐ Defendant not present / failed to appear
   appearing by video from Benton County Jail


 ☒ Defendant continued detained                       ☐ Additional Conditions of Release imposed
                                                      ☐ 199C Advice of Penalties/Sanctions

                                             REMARKS
        Due to the current COVID-19 public health crisis, all parties including Defendant, appeared by
video or teleconference.
        Defense counsel argued why there are conditions which justify reconsidering the issues of
detention and that such conditions will reasonably assure Defendant’s appearance as required. Defense
counsel argues property bond in which documents were previously filed regarding home value.
        Colloquy between Court and counsel regarding presentence investigation report from Texas.
        USA has no further argument beyond what was argued at previous hearings.
        Discussion between Court and counsel regarding ruling.

The Court ordered:
            1. Defendant’s Motion to Reopen Detention is denied.
            2. The Court ruled that it will abide by its earlier determination.
            3. The Court ruled that there are no conditions which justify reconsidering the issue of bail
               or that there are conditions of release which will reasonably assure Defendant’s
               appearance as required.
            4. Defendant shall be detained by the U.S. Marshal until further order of the Court.




Digital Recording/R-326               Time: 1:33 p.m. – 1:45 p.m.                                  Page 1
